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                               UNITED STATES JUDICIAL PANEL
                                            on
                                 MULTIDISTRICT LITIGATION


 IN RE: DICAMBA HERBICIDES LITIGATION                                                      MDL No. 2820



                                         TRANSFER ORDER


         Before the Panel: Plaintiffs in an action pending in the Southern District of Illinois
 (Warren) move to centralize nine actions in the Southern District of Illinois. The actions are pending
 in the Eastern District of Arkansas (two actions), the Southern District of Illinois, the District of
 Kansas, the Eastern District of Missouri (four actions), and the Western District of Missouri, as listed
 on the attached Schedule A. The Panel has been informed of two additional federal actions
 involving related issues.1

         All responding plaintiffs support centralization, but differ somewhat as to an appropriate
 transferee district, with plaintiffs variously advocating, either in the first instance or the alternative,
 the Eastern District of Arkansas, the Southern District of Illinois, the District of Kansas, or the
 Eastern District of Missouri. In addition, plaintiffs in the Eastern District of Missouri Bader Farms
 action, as well as a number of other plaintiffs, ask that we exclude that action from the centralized
 proceedings, citing its somewhat advanced status. Responding defendants Monsanto Company
 (Monsanto), BASF Corporation (BASF), E.I. du Pont de Nemours and Company (DuPont), and
 Pioneer Hi-Bred International (Pioneer) all oppose centralization. If the Panel orders centralization
 over their objections, Monsanto, DuPont, and Pioneer favor the Eastern District of Missouri as
 transferee district, and BASF argues for either the Eastern District of Missouri or the Eastern District
 of Arkansas.

          On the basis of the papers filed and the hearing session held, we find that these actions
 involve common questions of fact, and that centralization in the Eastern District of Missouri will
 serve the convenience of the parties and witnesses and promote the just and efficient conduct of this
 litigation. The actions share factual questions arising from allegations concerning the development,
 testing, and marketing of Monsanto’s dicamba-resistant Xtend seeds and three dicamba herbicides
 – XtendiMax, Engenia, and FeXapan2 – as well as allegations of injury from the use of those
 herbicides, either alone or in conjunction with the Xtend seeds. Centralization will eliminate


         1
          These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
 7.1, and 7.2.
         2
           According to plaintiffs, Monsanto and BASF jointly developed, tested, and manufactured
 the three herbicides, and that Monsanto’s XtendiMax and FeXapan, which is marketed by DuPont,
 are identical.
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 duplicative discovery, the possibility of inconsistent rulings on class certification, Daubert motions,
 and other pretrial matters, and conserve judicial and party resources. In particular, discovery
 concerning the development, testing, marketing, and regulatory histories of the herbicides and seed
 products – including expert discovery on such matters as the chemical composition of the herbicides
 and the mechanism of injury – appears likely to be extensive. Plaintiffs’ allegations that defendants
 conspired with one another to conceal the risks and misrepresent the characteristics of their products
 to regulators and the public also may necessitate significant discovery into defendants’ various
 business agreements and arrangements.

          In opposing centralization, defendants argue that each of the involved cases will turn on a
 myriad of plaintiff-specific issues, such as the type and location of the allegedly damaged crops, the
 symptoms exhibited by those crops, other possible causes of those symptoms, identification of the
 culprit herbicide, the conditions under which the herbicide was applied, and substantiation and
 quantification of damages. But, the existence of such issues, which is relatively commonplace in
 multidistrict cases, does not negate the common ones, which here are sufficiently numerous,
 substantial, and complex to warrant creation of an MDL. See, e.g., In re: Cook Med., Inc., IVC
 Filters Mktg., Sales Practices & Prods. Liab. Litig., 53 F. Supp. 3d 1379, 1380 (J.P.M.L. 2014)
 (centralizing litigation over defendants’ argument that “the unique facts of each individual plaintiff's
 case w[ould] predominate over common facts”). If the litigation progresses to the point where the
 transferee judge determines that the further adjudication of certain claims or actions should occur
 in the transferor districts, he is free to suggest remand under Section 1407. See Panel Rule 10.2(a).

         We select the Eastern District of Missouri as the transferee district. Four of the constituent
 actions, as well as one tag-along, are pending in that district, and its selection is supported by
 numerous plaintiffs, as well as all defendants (albeit in the alternative). Monsanto is headquartered
 in the Eastern District of Missouri, and it represents that various relevant activities took place there,
 including research and development of Xtend seeds and XtendiMax, submission of relevant
 regulatory filings, and oversight of the commercial launch of those products. Judge Stephen N.
 Limbaugh, Jr., to whom we assign the litigation, is an experienced jurist, who already is presiding
 over the two earliest-filed actions in this litigation.3 We are confident that he will steer this litigation
 on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
 the Eastern District of Missouri are transferred to the Eastern District of Missouri, and, with the




         3
           Our decision to centralize this litigation in the Eastern District of Missouri moots the
 request by certain plaintiffs to exclude Bader Farms from the MDL, as that action already is assigned
 to Judge Limbaugh. See In re: Optical Disk Drive Prods. Antitrust Litig., 701 F. Supp. 2d 1382,
 1383 (J.P.M.L. 2010) (explaining that issue of whether to include related FOIA action in the
 centralized proceedings was “moot, from the Panel’s perspective,” given the Panel’s decision to
 centralize the litigation in the district where the FOIA action was pending).
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 consent of that court, assigned to the Honorable Stephen N. Limbaugh, Jr., for coordinated or
 consolidated pretrial proceedings.


                                     PANEL ON MULTIDISTRICT LITIGATION




                                                     Sarah S. Vance
                                                          Chair

                                    Marjorie O. Rendell          Charles R. Breyer
                                    Lewis A. Kaplan              Ellen Segal Huvelle
                                    R. David Proctor             Catherine D. Perry
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 IN RE: DICAMBA HERBICIDES LITIGATION                                   MDL No. 2820


                                         SCHEDULE A


              Eastern District of Arkansas

        WHITEHEAD FARMS, ET AL. v. MONSANTO COMPANY, ET AL.,
             C.A. No. 2:17-00168
        BRUCE FARMS PARTNERSHIP, ET AL. v. MONSANTO COMPANY, ET AL.,
             C.A. No. 3:17-00154

              Southern District of Illinois

        WARREN, ET AL. v. MONSANTO COMPANY, ET AL., C.A. No. 3:17-00973

              District of Kansas

        CLAASSEN, ET AL. v. MONSANTO COMPANY, ET AL., C.A. No. 6:17-01210

              Eastern District of Missouri

        BADER FARMS, INC., ET AL. v. MONSANTO COMPANY, C.A. No. 1:16-00299
        LANDERS, ET AL. v. MONSANTO COMPANY, C.A. No. 1:17-00020
        SMOKEY ALLEY FARM PARTNERSHIP, ET AL. v. MONSANTO
            COMPANY, ET AL., C.A. No. 4:17-02031
        COW-MIL FARMS, INC. v. MONSANTO COMPANY, C.A. No. 4:17-02386

              Western District of Missouri

        HARRIS v. MONSANTO COMPANY, ET AL., C.A. No. 3:17-05262
